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                                            UNITED STATES
                                            DISTRICT COURT
                                        DISTRICT OF MINNESOTA

Warren E. Burger Federal       Diana E. Murphy           Gerald W. Heaney Federal       Edward J. Devitt U.S.
Building and U.S. Courthouse   U.S. Courthouse           Building and U.S. Courthouse   Courthouse and Federal
316 North Robert Street        300 South Fourth Street   and Customhouse                Building
Room 100                       Room 202                  515 West First Street          118 South Mill Street
St. Paul, MN 55101             Minneapolis, MN 55415     Duluth, MN 55802               Fergus Falls, MN 56537




August 23, 2021




Wayne Nicolaison
MSOP
1111 Hwy 73
Moose Lake, MN 55767

Case Number: 21-cv-1417 PJS/ECW
Case Title: Nicolaison v. Johnston

Re: Your letter dated August 16, 2021

Dear Wayne Nicolaison:

We received your letter expressing concern about the summons returned unexecuted. The clerk’s
office (via the U.S. Marshal Service) will attempt to effect service on the defendant a second time.

Based on your letter, you never received a copy of the order granting your application for in
forma pauperis status, so we are enclosing another copy.


KATE M. FOGARTY, CLERK
clk

Encl: Order (Doc #11)
